Case 0:19-cr-60370-RKA Document 1 Entered on FLSD Docket 12/12/2019 Page 1 of DD
                                                                              8


                                                                                        Dec 12, 2019
                           U M TED STA TE S D ISTR IC T C O U RT
                           SO UTIIE RN D ISTR ICT O F FLO R IDA
                      19-60370-CR-ALTMAN/HUNT
                           CA SE N O .
                                      21U.S.C.j841(a)(1)
 U M TED STA TES O F A M ER ICA

 VS.


 M AR IE PAN EBIAN C O ,

        D efendant.


                                         IN D ICTG N T

        TheGrand Jury chargesthat:

                                           CO U NT 1
                            D istribution of a C ontrolled Sùbstance
                                     (21U.S.C.j841(a)(1))
        On oraboutFebruary 12,2017,in Broward Cotmty,inthe Southem DistrictofFlodda,the

 defendant,

                                   M AR IE PAN EBIAN C O ,

 did knowingly and intentionally distribute a controlled substance,in violation ofTitle 21,United

 StatesCode,Section 841(a)(1).
        PllrsuanttoTitle21,UrlitedStatesCode,Section841(@(1)(C),itisfurtherallegedthatthis
 violation involved am ixmreand substancecontaining adetectablenm ountofcocaine,aSchedule

 11controlled substance.
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                                           COUNT 2
                            D istribution ofa C ontrolled Substance
                                    (21U.S.C.j841(a)(1))
        On oraboutApril30,2017,in BroWard Cotmty,in the Southern(DistrictofFloridw the

 defendant,

                                  M ARfE PANEBIANCO,

 didknowinglyandintentionall#disfributeacontrolledsubstance,inyiolation ofTitle21,Urlited '
                                                             '
                                                             x


 StatesCode,Section 841(a)(1).
        PtlrsuanttoTitle21,UrlitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthatthis
 violation involked amixtureand substancecontaining adetectableam ountofcocàine,
                                                                               'aSchedule

 Il'controlled substance.

        PtlrsuanttoTitle21,UnitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthatthis
 violation involved am ixtureand substance containing a detectable nm otmtoffuranylfenianyl,a
 Schedulelcontrolled substance.

        PrrsuanttoTitle21,UnitebStatesCode,Sçction 841(b)(1)(C),itisfzrtherallegedthatllzis
 violation involved a m ixture and substance containing a detectable am otmt of desproprionyl

 fentanyl,aSchedule11conkolled substance.

        PtlrsuanttoTitle21,UlzitedStatesCode,Section84.
                                                      1(b)(1)(C),
                                                                'itisfurtherallegedthattMs
 violation involved amixtureand substancecontaining
              .                                   ''*'
                                                       adet
                                                         t
                                                           edablenm otmtof17-4770,aSchedtllé

 Icontrolled'
            substance.

                                           C O U NT 3
                            D istribution ofa.c ontrolled Substance
                                    (21U.S.C.j841(a)(1))
        On oraboutJanuary 12,2018,in BroWard Cotmty,in the Southern DistrictofFlofida,the

 defçndant,
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                                      M ARIE PANEBIANCO ,

    did knowingly and intentionally distribute acontrolled substance,in'violation ofTitle21, Urlited

    StatesCode,Section 841(a)(1).
           PmsuanttoTitle21,UnitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthatthis
    violation involved amixtureand substancecontaining adetectablenm ountofcocaine, aSchedule

    11controlled substance.

           PttrsuanttoTitle21,UnitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthattlzis
    violation involved am ixtureandsubstance containing adetectablenm otmtoffentanyl,aSchedule
                          .




.   11controlled substance.

           Pm suanttoTitle21,UnitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthatthis
    violation hwolved a mixtureand substancecontaining a detectable am ountofheroin,a Schedule

 Icontrolled substance.

                                              CO U N T 4
                               D istribution ofa C ontrolled Substance
                                       (21U.S.C.j841(a)(1))
          On oraboutAugust2,2019,in Broward County,in the Southem DistrictofFlorida, the

 defendant,

                                      M ARIE Pm       BIANCO,

 did knowingly and intentionally distributea controlled substance, in violation ofTitle21,United

 StatesCode,Section 841(a)(1).
          PlzrspanttoTitle21,UrlitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthattlzis
 violation involved a m ixmre and substance containing a detectable nm otmt of cocaine base,

 com monly refen'
                ed to asIGcrack cocaines''a Schedule 11controlled substance.
Case 0:19-cr-60370-RKA Document 1 Entered on FLSD Docket 12/12/2019 Page 4 of 8



        PttrsuanttoTitle21,UnitedStatesCodç,Section84'1(b)(1)(C),itisfurtherallegedthattiis
 violation involvedam ixtureandsubstancecontainingadetectableamountoffentanyl,a Schedule

 11controlled substance.

                                              CO U N T 5
                               D istribution of a Controlled Substance
                                       (21U.S.C.j841(a)(1))
        On oraboutAugust8,2019,in Broward Cotmty,in the Southem DistdctofFlorida,the

 defendant,

                                     M AR IE PAN EBIA N CO ,

 did knowingly and intentionally distribute acontrolled substance,in violation ofTitle71,Uxlited
                    'l

 StatesCode,Section 841(a)(1).
        PursuanttoTitle21,UzlitedStatesCode,Section841(b)(1)(C),itisf'urtherallegedthatthis
 violation involvedam ixtureandsubstancecontaining adetectablenm otmtoffentanyl,aSchedule

 11controlled substance.

                                             CO U NT 6
                               Distribution ofaControlled Substance
                                       (21U.S.C.j841(a)(1))
        On oraboutAugust15,2019,in Broward Cotmty,in the Southem DistrictofFlorida,the

 defendant,

                                     M AR IE PAN EBIAN C O ,

 didknowingly and intentionally distributea controlled substance,in violation ofTitle 21,United

 StatesCode,Section 841(a)(1).
        PtlrsuanttoTitle21,UrtitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthattlzis
           .               $

 violation involved am ixttzreand substancecontainingadetectablenm ountoffentanyl,a Schçdule

 11controlled substance.
Case 0:19-cr-60370-RKA Document 1 Entered on FLSD Docket 12/12/2019 Page 5 of 8




        PtlrsuanttoTitle21,UnitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthatthis
 violation involved am ixmre and substance containing a detectableam ountofheroin,a Schedule

 Icontrolled substance.
 I

                                           CO U N T 7
                               DistributionofaControlledSubstance
                                      (21U.S.C.j841(a)(1))
        On oraboutAugt
                     zst22,2019,in Broward Colm ty,inthe Southem DistrictofFlorida,the

 defendant,

                                    M AR TE PAN EBIAN CO ,

 didltnowinglyandintentionallydistributeacontrolledsubstance,inviolation ofTitle21,United

 StatesCode,Section841(a)(1).
        PursuanttoTitle21,UnitedStatesCode,Section 841(b)(1)(C),itisf'urtherallegedthatthis
 violation involved amixtureand substancecontaining adetectableam otmtoffentanyl,aSche'
                                                                                      dule

 11controlled substance.
                                                             X
                                 FORFEITIJ= ALLEGATIO#S
        1.     The allegations of this lndictm ent are re-alleged and by this reference fully

 incorporàted herein forthepurposeofallegingforfeituretotheUnited States.ofAm ericaofçertain

 property in which thedefendant,M ARIE PANEBIANCO ,hasan interest.

               Upon conviction ofaviolation ofTitle21,UnitedStatesCode,Section 841(a)(1),
 asalleged in thislndictm ent,thedefendantshallforfeitto theUnhed StatesofAm erica,plzrsuant

 toTitle21,UrlitedStatqs
                       I
                         Code,Section 853(a)(1)-(2),anypropertyconstitqting,orderivedfrom,
 anyproceedsthe defendantobtained,directly orindirectly,astheresultofsuch violation,and any
                           R               .

 property the defendantused,or intended to be used,in any mnnner or part,to commit,orto

 facilitatetheoomm ission of,suoh violation.
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      '
          A11ptlrsuantto Title21,United StatesCode,Section 853.



                                                  A TRU E BILL


                                                  FO REPER SON
                                      %
                      J.UO t-tr-kln
      NA        AR D O OR SH AN
    ITED STATES ATTORN EY

                                    (c,pl
 ROBERTJUMAN Vu ol
                 rs Aw tta
 A SSISTAN T UN ITED STATES A TTO RN EY
                              UNITED 1STATES
     Case 0:19-cr-60370-RKA Document         DISTW
                                        Entered on CT COIJ
                                                   FLSD  RT
                                                         Docket 12/12/2019 Page 7 of 8
                              SOUTHERN DISTRICT OF FLORD A

UNITED STATESOF AM ERICA                                     CASE NO .

                                                             C ERTIFICA TE O F TR IA L ATTO RN EY.
M AQTE PANEBIAN CO
                                                             Superseding Case Information:
                            Defendant.         I

CourtDivision:(selectOne)                                    New defendanttsl          Yes
        M iam i           Key W est                          Numberofnew defendants
 z      FTL     -         W PB           FTP                 Totalnumberofcotmts

                1have carefully considered the allegationsofthe indictm ent,the numberof defendants,the numberof
                probablewitnessesand thelegalcomplexitiesofthe Indictm entfnform ation attachedhereto.
                I nm aware thatthe information supplied on this statem entwillbe relied Jzpon by the Judges of this
                Coul'tin setting theircalendarsand scheduli
                                      .                   ng criminaltrialsunderthe mandate ofthe Speedy Trial
                Act,eTitle 28 U.S.C.Section 3161.                                    '
                Interpreter:      (YesorNo)             No
                Listlanguage and/ordialect
        4.      Thiscasewilltake 3 daysforthe partiesto tly.
                Please check appropriate category and type ofoffense listed below :
                (Checkonlyone)                                      (Checkonlyone)
        I       0to5days                           d                Petty
        11      6to 10days.                         ,               M inor
        III     11to20days                                          M isdem .
        IV      21to60days                                          Felony             4
        V       61daysandover
        6.      HasthiscasepreviouslybeentiledinthisDistrictCourt?                   (YesorNo)   No
         Ifyes:Judge                                         CaseNo.
         (Attachcopyofdispositivdorddr)
         Hasacomplaintbeenfiledinthismatter?                 (YesorNo)        N0
         Ifyes:MajistrateCaseNo.
         Related m lscellaneousnumbers:
         Defendantts)infederalcustodyasof                           '
         Defendantts)instatecustodyasof
         Rule20 from theDistrictof
         Isthisapotentialdeath penalty case?(YesorNo)                   No
                Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.A ttorney'sO'
                                                                                                         ffice
                priortoAugust9,2013(M ag.JudgeAlicia0.Valfe)?                        Yes         No z      '
        8.      Doesthiscaseoriginatefrom amatterpending in theNorthernRegionU.V.Attorney'sOffice
                priortoAugust8,2014 (M ag.JudgeShaniek M aynard)?                    Yes         No z

                                                                          -     -                    (%s
                                                                    ROBBRTzumx           n vxo.'
                                                                                               c ,Am,olv
                                                                    ASSISTANT UM TED STATES ATTORNEY
                                                                    Florida BarN o./courtA 5502228
 *penaltySheetts)attached                                                                               REV 8/13/2018
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                                  UM TED STATES DJSTRICT COURT
                                  SOUTH ERN DISTRICT OF FLORIDA

                                             PENALTY SHEET



    D efendant's N am e:M AR IE PAN EBIAN CO                 C ase N o:

    Cotmt:
'

,
    Distribution ofContzolled Substances                                                                .

    21U .S.C.kk841(a)(1)and ('
                             b)(1)(C)
t

    * M ax.Penalty:m aximllm term of20 yearsim prisonm ent;aterm ofsupervised releaseofatleast3years
                                                                                 '
                   .
    and upto am axlm llm term oflife;$1,000,000 fine.

    Cotm t:




    *M ax.Penalty:                                                   .

    Count:




    *M ax.Penulty:                      .

    Cotmt:




    *M ax.Penalty:
         * e ers en y o pnssl e erm 0 lncarcera I0n, 0es no lnc u e possl e lne8, re8 I u I0n. Gpeola
                          assessments. parole terms nr forfeitures that may be applicable.
